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 December 16, 2021


 Via ECF
 Magistrate Judge Marcia M. Henry
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

          Re:         Melendez v. Eden Palace, Inc. et al.
                      Eastern District Case No.: 21-CV-00949-MKB-MMH

 Dear Judge Henry:

         Our firm represents the Defendants in the above-referenced matter. Jointly with Plaintiff’s
 counsel, we respectfully submit this letter to provide a status update in accordance with Paragraph
 6 of the Court’s October 14, 2021 Order (the “Order”) (ECF No. 23).

         The parties exchanged their respective disclosures pursuant to the Order and on December
 9, 2021, your undersigned met and conferred with Plaintiff’s counsel, Clela Errington, Esq., about
 possible settlement of the matter. During this discussion, I explained the records produced by
 Defendants and how they refute the claims and damages sought by Plaintiff. Once the documents
 were explained to Ms. Errington, coupled with additional information about Plaintiff’s purported
 claims, Ms. Errington advised that she would have a discussion with her client about the defenses
 that would be advanced to possibly provide a revised settlement demand after such discussion was
 had with her client. The Plaintiff is currently reviewing the records provided by Defendants and
 considering their claims, but as yet has not determined whether a revised settlement demand is
 appropriate. As such, no meaningful settlement discussions have taken place. The parties remain
 willing to attempt to resolve this matter amongst each other with additional time or proceed with
 mediation if the Court so directs.

          Thank you for your time and courtesies.

                                               CAMPOLO, MIDDLETON
                                               & McCORMICK, LLP

                                               Respectfully submitted,


                                               By: ______________________________
                                                      Yale Pollack, Esq.


 cc:      All Parties of Record (via ECF)


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